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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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  STATE OF NEW YORK, et al.,
                                                             ' Civ. 5434
                                                             f9                (VM)
                               Plaintiffs,                   l
                                                             ~ECISION AND ORDER
         - against -

  DEUTSCHE TELEKOM AG, et al.,                               Il
                               Defendants.
  -----------------------------------x
 VICTOR MARRERO, United States District J*dge.
                                                             !
         Plaintiffs,       the     States        of    New i York,         California,
                                                           !
 Connecticut,           Hawaii,       Illinois,          Mciryland,          Michigan,
                                                             i
 Minnesota,     Oregon,         and   Wisconsin,           the     Commonwealths       of

 Massachusetts,         Pennsylvania,       and Virginfa,          and the District

  of Columbia      (collectively,          the "Plaintiiff States"),            acting

 by and through their respective Office& of their Attorneys

 General,     brought this         action against           Deutsche Telekom AG,

 T-Mobile US,      Inc.        ( "T-Mobile") ,     Softbank Group Corp. ,             and

  Sprint    Corporation         ("Sprint,"       and       coLlectively      with     the

  foregoing    defendants,         "Defendants")           seeking    to   enjoin     the

 proposed acquisition            of Sprint by T-Mobile                (the "Proposed

 Merger").     Plaintiff States            claim that        the     Proposed Merger

 would      produce       an     effect      of        substantially         lessening

 competition       in     the     market     for       retail       mobile    wireless

  telecommunications           services,    in violation of Section 7 of

 the     Clayton    Act,        codified      at      15     U.S.C.     Section       18.
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  Defendants         counter that the                     Proposed Merger would in fact

  increase competition in the relevant United States wireless

  markets and that Plaintiff States have thus failed to state

  a claim for relief.

          A   bench        trial         is     scheduled             before           this     Court        from

  December 9 through December 20,                               2019.        Defendants have filed

  three       motions          in    limine           seeking           to     preclude             Plaintiff

  States      from presenting                   at    trial:          ( 1)    evidence          of     foreign

  market       studies         and        related             testimony           and    opinions            (see

  "First Motion," Dkt.                    No.    253);          (2)   evidence related to and

  including         the    "Stock          Price          Opinion"           of    Dr.        Carl     Shapiro

  ("Shapiro") ,           an    expert          for       Plaintiff           States          ( see    "Second

  Motion,"        Dkt.     No.       256);           and       (3)    any     testimony               of   legal

  opinions          in·    this          action,              including            particularly               any

  testimony by law professor Catherine Sandoval                                                ("Sandoval")

  regarding         the        procedures             of       the      Federal          Communications

  Commission          ("FCC")        and         future          action           it    may      take        with

  respect      to    the       Proposed Merger . ( see                       "Third Motion,"                 Dkt.

  No.   2 63) .     For the         following reasons,                       the Court GRANTS the

  First and Second Motions and defers decision on the Third

  Motion until trial commences.

                                     I.         LEGAL STANDARDS

          "The      purpose         of     an        in    limine       motion          is     to      aid    the

  trial process by enabling the Court to rule in advance of



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 trial on the relevance of certain forecasted evidence,                                               as

  to   issues       that       are        definitely           set      for        trial,        without

  lengthy        argument                at,       or          interruption                of,       the

  trial." Palmieri             v.        Defaria,        88    F.3d     136,        141     (2d     Cir.

  1996)    (internal           quotation                marks        omitted). A                 court's

  determination of a motion in limine is preliminary and may

  be   subject      to     change          as    the     case     unfolds.           See     Highland

  Capital Mgmt., L.P. v.                      Schneider,       551 F. Supp.            2d 173, 176

  (S.D.N.Y. 2008).

          Federal    Rule           of     Evidence           ("FRE")     402 provides              that

  relevant       evidence                is      generally            admissible,·               and FRE

  403 provides that evidence that is relevant may nonetheless

  be   excluded          if     its           probative         value         is     substantially

  outweighed      by,         among        other        considerations,              undue        delay,

  wasting       time,          or          needlessly            presenting               cumulative

  evidence. Fed.              R.          Evict.         402, 403.            Under FRE             401,

  " [ e] vidence is relevant if:                   (a)    it has any tendency to make

  a fact more or less probable than it would be without the

  evidence; and (b) the fact is of consequence in determining

  the action." Fed. R. Evict. 401.

          FRE 702 governs the admissibility of expert testimony

  and provides that a qualified expert may testify if:

          (a)  the expert's scientific,   technical,  or other
          specialized knowledge will help the trier of fact to
          understand the evidence or to determine a fact in


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          issue; (b) the testimony is based on sufficient facts
          or data; (c) the testimony is the product of reliable
          principles  and methods;   and  (d)  the expert has
          reliably applied the principles and methods to the
          facts of the case.

  Fed.    R.     Evict.    702.       A trial          court       must     decide      whether     a

  qualified         expert's            testimony             rests         on     a         reliable

  foundation,        or    is        simply    based         on     "subjective         belief     or

  unsupported        speculation."             Daubert         v.        Merrell    Dow       Pharm.,

  Inc.,     509    U.S.        579,     590    (1993).            If     expert    testimony       is

  speculative        or        conjectural,            it    should        be     excluded.       See

  Boucher v. U.S. Suzuki Motor Corp., 73 F.3d 18, 21                                         (2d Cir.

  1996).       In this regard,           a court may exclude expert evidence

  where     it     concludes          "that     there         is       simply     too    great     an

  analytical gap between the data and the opinion proffered."

  Gen.     Elec.     Co.        v.     Joiner,         522        U.S.     136,    146        (1997).

 Additionally,            an    expert        "may      not       give     testimony          stating

  ultimate legal conclusions" or otherwise usurp the role of

  the trial judge. In re Methyl Tertiary Butyl Ether ("MTBE")

  Prods. Liab. Litig., MDL No.                     1358,          2008 WL 1971538,            at *13

  (S.D.N.Y. May 7, 2008)                 (quoting United States v. Bilzerian,

  926 F.2d 1285, 1294 (2d Cir. 1988)).

                                      II.     FIRST MOTION

          Defendants       request          that     the Court            exclude from trial

  any     materials        or        expert    testimony               regarding       the    market

  structure,         competitiveness,                  or     competitive           effects        of


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 mergers in wireless communications markets located outside

  of     the    United     States,         including    particularly         markets      in

  Canada and Europe.              (See "Defs. First Mem. of Law," Dkt No.

  254.)     They argue          that    introducing evidence of mergers                   in

  foreign        markets        would       risk   time-consuming            mini-trials

  regarding the comparability and relevance of those foreign

  mergers to the Proposed Merger,                      and that consideration of

  the foreign mergers at trial would be of no probative value

  because of their unique factual circumstances.                             ( See id.    at

  1-2,     4-5. )    Defendants        further     argue   that       Shapiro has        not

  laid         out    a        relia.ble      methodology        to        justify       his

  consideration           of    studies      involving     foreign         markets,      and

  that he fails to analyze the specific factual circumstances

  at issue in those studies or their relevance to the present

  action.       (See id. at 3.)

          Plaintiff States oppose the First Motion, arguing that

  no case law supports                 the proposition that            a    court cannot

  consider out-of-market evidence to understand how a merger

  may affect the relevant market.                      (See "Pls.          First Mem.     Of

  Law" at 4,         Dkt. No. 278~)          Plaintiff States claim that such

  evidence is relevant because studies analyzing the effects

  of     mergers     in    foreign         wireless    markets    that        reduce     the

  number of competitors from four to three may be probative

  of the effects of the Proposed Merger,                      which would reduce


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  the number of major mobile network operators in the United

  States     from     four        to   t~ree.          (See    id.     at    2-3.)      Plaintiff

  States     add      that         Defendants'            arguments           regarding         the

  reliability of Shapiro's analysis bear on the weight of the

  evidence rather than its admissibility.                             (See id. at 5.)

          In reply,         Defendants assert that while evidence                              from

  foreign     markets         is       not     necessarily             irrelevant         in    all

  circumstances,             considering                such         evidence          would     be

  inappropriate        in     this      case       because       there       is   no    basis    to

  believe     that      conditions           in        foreign       markets      are     similar

  enough to conditions in United States markets to render the

  foreign         market          evidence             sufficiently            relevant         and

  probative.        ( See    Def s.     First       Reply Mem.          of     Law,     Dkt.    No.

  287, at 1.)

          While     the      Court      is     not       categorically            barred       from

  considering evidence of mergers in foreign markets,                                     it will

  nevertheless exclude such evidence at this time.                                      The Court

  finds    that     the     relevance        of wireless              services mergers           in

  foreign markets            is    dubious        at     best.       Despite      the    apparent

  similarity between mergers in foreign and domestic markets

  involving a similar number of competitors, numerous salient

  factors,    including market structure,                        consumer demographics,

  regulatory         frameworks,             and        infrastructure            may      differ




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  significantly         and    likely     yield          only    an    apples-to-oranges

  comparison.

        Even      assuming       that         evidence          of     foreign       wireless

  services mergers was relevant, though, the Court finds that

  the   limited       probative         value       of    such        evidence       would    be

  outweighed by the undue delay that would result                                    from its

  consideration         at    trial.     As     Plaintiff            States    acknowledge,

  the   results       of studies        regarding foreign mergers                     are not

  uniform      (see     Pls.     First        Mero.      of     Law    at     3),    and     the

  admission of such evidence risks lengthy argument over the

  countless       factors        that     render          foreign        mergers       either

  comparable or incomparable,                  probative or not probative in

  relation to the Proposed Merger.                        The Court concludes that

  trial time would be better spent developing the evidence of

  the   Proposed        Merger's        competitive             effects       that    can     be

  derived from the relevant United States markets at issue,

  rather than wasting time litigating whether and how mergers

  in foreign wireless markets might conceivably predict those

  competitive         effects.     Accordingly,               the     Court     grants       the

  First Motion.

                                 III. SECOND MOTION

        In their Second Motion,                 Defendants seek to exclude as

  unreliable      any    evidence        related         to     Shapiro's      Stock       Price

  Opinion, which evaluates changes in the stock prices of T-


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  Mobile       and    Sprint's       major       competitors,         AT&T        and    Verizon,

  both    shortly before              and    after     notable        news       announcements

  regarding          the    Proposed        Merger.         (See    Second       Motion.)        The

  Stock      Price         Opinion    concludes         that        the    Proposed        Merger

  would be anticompetitive because the increases in AT&T and

  Verizon's stock prices after positive news events regarding

  the Proposed Merger indicate that the merger would increase

  the     potential           for     higher          prices        and        anticompetitive

  coordination in the market for wireless telecommunications

  services.

          In particular,             Defendants allege that Shapiro ignored

  wittiout      explanation          how     certain        notable        events       including

  the    filing       of     the    instant      lawsuit       may     have       impacted       the

  relevant stock prices,                  why Verizon and AT&T's stock prices

  did    not    increase           upon    the    announcement            of     the    allegedly

  anticompetitive             Proposed        Merger,         and     how        the     remedies

 . negotiated between Defendants,                      FCC,        and the       United States

  Department of Justice                   ( "DOJ")    might        cut against          the Stock

  Price        Opinion's           conclusion          regarding           anti-competitive

  coordination.             (See    "Defs.       Second      Mem.     of       Law,"    Dkt.    No.

  257,     at        3-4.)         Defendants         add      that        the     methodology

  underlying the Stock Price Opinion is unreliable because it

  failed to control                for myriad factors               that might          otherwise

  affect       stock price,          and because academic                  literature          cited



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 by Shapiro states that the correlation between a merger's

  likelihood and rival firms'                  stock prices does not establish

  a   merger's      potentially          anticompetitive                 effects         with     any

 meaningful degree of reliability.                        (See
                                                           --- id.
                                                                - at 5-6.)
        In opposition to the                  Second Motion,               Plaintiff States

  argue that Shapiro's analysis is reliable and supported by

  academic    literature,        and         that       Defendants'         concerns merely

  reflect    the     contrary       views          of    their       expert.           ( See    "Pls.

  Second     Mem.     of    Law"        at     1,       Dkt.       No.     280.)        Moreover,

  Plaintiff States contend that Shapiro did not ignore major

  events regarding the             Proposed Merger because he                           relied on

  Bloomberg     News'      categorization               of     certain      news        events     as

  "Hot Headlines" and drew his sample from that set of news

  events.    (See id. at 3.)            Plaintiff States further argue that

  Shapiro's         analysis       minimized                 the     impact            of       other

  confounding        factors       on        the       stock       prices        at     issue      by

  selecting a narrow window of time in which to assess major

  news announcements'          impacts on the stock prices of AT&T and

  Verizon,     specifically         the        five       minutes         before         and     five

 minutes after each news event.                         ( See id.        at 3-4.)        Plaintiff

  States      add      that      Shapiro's                reply          report         addresses

  Defendants'       concerns,      accounting             for      the news           events     they

  highlighted        and      testing          the        results          for        statistical

  significance.       (See id. at 5.)


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          Defendants briefly reiterated their position in reply,

  criticizing Shapiro's methodological reliance on Bloomberg

  News articles and adding that efforts to gauge investors'

  views     of     the     Proposed            Merger's           competitive          impact        are

  inappropriate          in light          of more direct                evidence          indicating

  that AT&T and Verizon would oppose the merger.                                       ( See "Defs.

  Second Reply. Mem. of Law," Dkt No. 291, at 1-2.)

          Putting aside whether the Proposed Merger will have an

  anticompetitive             effect       and     whether          stock      price        movements

  could     theoretically                demonstrate           that      effect,           the     Court

  finds     that     the       Stock           Price        Opinion      does        not     rely     on

  "sufficient       facts           or    data"        to    justify          the    admission        of

  related testimony and evidence under FRE 702.                                      The Court is

  skeptical        of         the        reliability              of     an         opinion         that

  extrapolates the likelihood of anticompetitive effects from

  between    five        to    seven        discrete          news      articles           covering    a

  period     of     well       over        a     year.       And       although        the        narrow

  timeframe       reviewed           with       respect        to      each     news       event     was

  chosen     in    order        to       minimize           the     effect      of     confounding

  variables        upon        Shapiro's               analysis,          such         a     decision

  effectively asks the Court to entertain the notion that the

  Proposed       Merger       is     anticompetitive                based       on     roughly       one

  hours'    worth of stock price movements.                              Even assuming that

  Shapiro's       methodology             for     analyzing            this     limited          dataset


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  was    reliable,       "if the analysis             is not based upon relevant

  and     reliable           data,       the      expert's          opinion              will      be

  inadmissible." Laumann v. Nat'l Hockey League,                                   117 F.       Supp.

  3d 299,      303    (S.D.N.Y.      2015).     In short, the Court finds that

  there is too great a               gap between the small sample size of

  data    on     which     Shapiro       relies      and     the   conclusion             that     he

  derives      from that          data   to    justify admission               of     the       Stock

  Price    Opinion . or          related      evidence       at    this       time.       See     Gen

  Elec. Co., 522 U.S. at 146.

          Furthermore,           there   is    cause to       doubt       the       reliability

  of    Shapiro's      methodology with              respect       to    the       Stock        Price

  Opinion.       While the choice to rely on Bloomberg News'                                     "Hot

  Headlines"         may     reduce      concerns      that        Shapiro          arbitrarily

  selected the dataset himself,                      there    is    nothing to             suggest

  that Bloomberg News              selected the            "Hot Headlines" with the

  sort      of       rigorous         analysis        or       carefully             considered

  methodology that courts would normally expect of an expert.

  Indeed,      as    Defendants note,           it is difficult to accept the

  reliability         of     a    methodology        that      excludes            the     initial

  announcement of the              Proposed Merger from its dataset when

  assessing the Proposed Merger's effects.                              (See Defs . . Second

  Reply Mem.         of Law at        2-3.)     As    the     trier      of    fact       in this

  case,     the      Court       concludes     that        evidence       related          to     the

  Stock     Price     Opinion        would     not    be     helpful          in    the     manner



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  contemplated          by    FRE     702.       Accordingly,             the     Court        grants

  Defendants' Second Motion.

                                     IV.       THIRD MOTION

          Finally,       Defendants              seek        to     exclude            the     expert

  testimony       of     Sandoval,            including           any     legal        opinions      or

  related evidence regarding the FCC's procedures, its review

  of the proposed merger, and future actions that the FCC may

  take.    ( See Third Motion.)                 Defendants argue that Sandoval's

  report     amounts          to     a        legal        brief        setting         forth       her

  interpretation             of    FCC     rules          and     regulations,           that       her

  report concerns            issues that have already been resolved by

  the   FCC' s    final       order approving the merger,                          and that her

  discussion       of    future          FCC    action          amounts      to        inadmissible

  speculation.         (See "Defs. Third Mem.                     of Law," Dkt. No.                264,

  at 2-4.)

          Opposing the Third Motion,                        Plaintiff States note that

  Defendants'          experts       devote          significant           attention         to     the

  remedies        that       Defendants              have       proposed          to     DOJ       (the

  "Proposed       Remedies"),              which          are     contingent            on     future

  actions to be taken by the FCC.                               (See "Pls.        Third Mem.         of

  Law,"    Dkt.    No.        284,    at       1.)        Plaintiff       States        argue      that

  Defendants       have           placed       at         issue     the     FCC's        policies,

  procedures, and future actions with respect to the Proposed

  Merger     by        focusing          on     the         Proposed        Remedies,             their


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  potential impact on competition,                          and the         FCC' s procedural

  approach to reviewing, approving, or enforcing the Proposed

  Remedies.       (See id.)

         In reply,        Defendants argue that Sandoval's opinion is

  not based on specialized knowledge or experience specific

  to mergers,          but is instead merely speculation.                           ( See "Def s.

  Third Reply Mem.              of Law," Dkt.              No.     2 98,    at 1.)        They add

  that     they    have    not     placed           the     FCC' s       legal     framework      at

  issue because their discussion of the FCC' s waiver review

  process occupied only two paragraphs, and that they believe

  it   would be         appropriate           to    try     the      case    with       no    expert

  testimony        regarding        the            FCC's       processes,           rules,       and

  regulations.         (See id. at 1-2.)

         Defendants        correctly          note         that    where         expert      reports

  read like legal briefs and threaten to usurp judges'                                          duty

  to     determine        the     relevant           law,        courts      may        reasonably

  exclude such evidence at trial. See TC Sys. Inc. v. Town of

  Colonie,    New York,           213    F.        Supp.    2d 171,         181-82        (N.D.N.Y.

  2002).     However,       to    the    extent            that      a   qualified        expert's

  testimony        regarding       agency           procedures             and    practices       is

  relevant        to     issues     in        the       case      and      does     not      merely

  interpret        the     law     or    set         forth        speculation           or     legal

  conclusions          regarding    the agency's                  action,        that   testimony

  and related evidence may be admissible at trial. See, e.g.,


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  id.      at        182         (declining             to     exclude           anticipated       trial

  testimony regarding FCC criteria prior to trial); Raley v.

  Hyundai Motor Co., No. 08 Civ. 376, 2010 WL 199976, at *4-5

  (W. D.    Okla.          Jan.       14,    2010)       ( allowing testimony on federal

  agency practice if relevant to an issue in the case).

           While       it         is        not     clear           that     either        party     must

  necessarily discuss FCC procedures at trial in this action,

  the      Court      agrees           with        Plaintiff             States     that     Defendants

  appear        to    have        put       FCC    procedures              and     actions    at     issue

  through their own expert reports. Accordingly,                                           it would be

  inappropriate to exclude Sandoval's testimony at this early

  stage when Defendants may continue to put future FCC review

  and actions at issue during trial.                                     If Plaintiff States can

  establish at trial that Sandoval is qualified to testify as

  an    expert,            the     Court          may    provisionally              allow     Plaintiff

  States to present evidence regarding                                      FCC practices during

  trial,        insofar          as    such       evidence          does     not     amount    to mere

  speculation regarding the agency's future behavior or legal

  argumentation              better           suited          to     a     brief.     If     the   Court

  determines          that        Sandoval's            testimony and              related evidence

  is    irrelevant            or       unreliable,             it        retains    the     ability     to

  exclude        or    disregard              such       evidence           during    or     after     the

  conclusion of trial. See Chill v. Calamos Advisors LLC, No.




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  15    Civ.    1014,      2018   WL    4778912,    at    *7   (S.D.N.Y.        Oct.     3,

  2018) .

                                        V. ORDER

          For the reasons stated above, it is hereby

          ORDERED that        the motion in limine             ( Dkt.    No.    253)     of

  defendants Deutsche Telekom AG, T-Mobile US,                       Inc., Softbank

  Group        Corp.,       and    Sprint        Corporation            (collectively,

  "Defendants") to exclude evidence of foreign market studies

  and    related       testimony and opinions             at   the   trial      of     this

  action is GRANTED; and it is further

          ORDERED that        the motion in limine             (Dkt.     No.    256)     of

  Defendants to exclude evidence related to and including the

  stock price opinion of Carl Shapiro at the trial of this

  action       is    GRANTED.     The    Court     will   defer      ruling      on     the

  motion in limine           (Dkt. No. 263) of Defendants to exclude at

  the     trial       of   this    action    the      testimony         of     Catherine

  Sandoval          and    any    related        evidence      until         after      the

  commencement of trial.



  SO ORDERED.

  Dated:            New York, New York
                    2 December 2019




                                                                U.S.D.J.


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